   Case 4:23-cv-00613-P Document 56 Filed 02/29/24   Page 1 of 7 PageID 282



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION



J.A. CASTRO,                              §
           Plaintiff,                     §
                                          §
VS.                                       §    Case No. 4:23-cv-00613-P-BJ
                                          §
JOHN DOE 1 (a.k.a. “CHETSFORD”), et al.   §
          Defendants,                     §



        BRIEF IN SUPPORT OF MOTION FOR SANCTIONS BY DEFENDANT
                         JOHN DOE 1 (“Chetsford”)




Anne Marie Mackin
Texas Bar No. 24078898
The Gober Group
14425 Falcon Head Blvd.
Building E-100, Suite 226
Austin TX 78738
telephone: (512) 354-1785
fax: (877) 437-5755
amackin@gobergroup.com

Michael E. Rosman
Admitted pro hac vice
Center for Individual Rights
1100 Connecticut Ave., Suite 625
Washington, D.C. 20036
telephone: (202) 833-8400
fax: (202) 833-8410
rosman@cir-usa.org
   Case 4:23-cv-00613-P Document 56 Filed 02/29/24                  Page 2 of 7 PageID 283



       John Doe 1, aka Chetsford, submits this brief in support of his motion, pursuant to Fed.

R. Civ. P. 11, for an appropriate sanction against Plaintiff J.A. Castro for allegations made in his

Third Amended Complaint.


                                            Background


       The Third Amended Verified Complaint (Doc. 36, “TAC”) in this action alleges

defamation against Donald J. Trump (“Trump”), and various entities that the TAC claims are

controlled by Trump. TAC ¶¶ 6-10. Although labelled the “Third Amended Verified Complaint,”

the TAC is at least the sixth distinct complaint Castro has filed in this action, each of them

different in identifying the defendants and who purportedly did what. Doc. Nos. 1 (four

anonymous defendants), 16 (four anonymous defendants listed in the caption and first paragraph,

allegations against only two of them in the body of the complaint, with allegations against

Donald Trump and various entities also made in the body of the complaint), 17 (two anonymous

defendants, plus Trump and various entities), 28 (same; labeled third amended complaint on

page 1 and second amended complaint on page 4), 30-1 (only one anonymous defendant, John

Doe 1, who is, for the first time, characterized as a “nominal defendant” against whom no relief

is sought, along with Trump and the same entities; labeled third amended complaint on page 2

and second amended complaint on page 5), and 31-1 and 36 (similar, but with new entities, see

Doc. 31 at 4 (“correcting the defendants”)).

        This motion concerns three allegations in the TAC and Castro’s motivation for bringing

the lawsuit. The three allegations: First, that Trump, through various entities, paid Chetsford to

write a defamatory article in Wikipedia (the “Payment Allegation”). TAC ¶ 12. Second, that


                                                 1
    Case 4:23-cv-00613-P Document 56 Filed 02/29/24                  Page 3 of 7 PageID 284



Chetsford “fabricated” a document from the Florida Bar (the “Fabrication Allegation”). Id. ¶ 14.

Third, that “[p]laintiff has only received minimal public attention from a few obscure media

outlets” (the “Obscure Media Allegation”). Id. ¶ 24. Castro has never suggested what his

“reasonable basis” is for the first two allegations, and those allegations are contrary to fact. The

third is contradicted by facts Castro has asserted in other lawsuits. Moreover, the absence of any

basis for supporting these allegations, as well as Castro’s own admission that this is about his

competition with Donald Trump, suggest an improper motive for bringing this lawsuit.


                                              Argument


       In relevant part, Rule 11(b) states:

               By presenting to the court a pleading, written motion, or other
               paper — whether by signing, filing, submitting, or later advocating
               it—an attorney or unrepresented party certifies that to the best of
               the person’s knowledge, information, and belief, formed after an
               inquiry reasonable under the circumstances:

               (1) it is not being presented for any improper purpose, such as to
               harass, cause unnecessary delay, or needlessly increase the cost of
               litigation; [and]. . .

               (3) the factual contentions have evidentiary support or, if
               specifically so identified, will likely have evidentiary support after
               a reasonable opportunity for further investigation or discovery. . .

       Thus, Castro, an self-represented party, is subject to Rule 11 when he “presents” a paper.1


1
         Rule 11, by its terms, does not apply different standards to pro se litigants. In any event,
because Castro graduated from law school (TAC ¶ 15), he is not entitled to the special latitude
afforded pro se litigants in interpreting allegations. E.g., Tan v. Doe, 2014 U.S. Dist LEXIS
61972, at *2 n.1 (S.D.N.Y. May 1, 2014). See also Appellant’s Opening Brief filed July 14,
2023 in Castro v. Trump, Eleventh Circuit Appeal No. 23-12111 at i (Castro representing that he
is “skilled in the art of respectful and intellectual oratory argumentation.”). Morever, the
                                                                                         (continued...)

                                                  2
    Case 4:23-cv-00613-P Document 56 Filed 02/29/24                  Page 4 of 7 PageID 285



He plainly presented the TAC by filing it. Accordingly, he has “certified” that the factual

contentions therein have “evidentiary support.”2

       But they do not. The Payment Allegation is false because neither Trump nor his entities

(nor anyone else) paid Chetsford to write anything in Wikipedia about Castro. APP3 (Chetsford

Statement ¶ 2). If Castro has any evidentiary support for this allegation, he has not identified it.

       As to the Fabrication Allegation, Chetsford has not fabricated any document from

Florida. APP3 (Chetsford Statement ¶ 3). It also deserves mention that the first four versions of

Castro’s complaint alleged that someone else (viz., John Doe 2) fabricated the document from the

Florida bar. Doc. No. 1 ¶ 12; Doc. No. 16, ¶ 14; Doc. No. 17, ¶ 13; Doc. No. 28, ¶ 13. It is only

after this Court struck the last of these pleadings (because Castro had not moved for an order

permitting him to file it), Doc. No. 29, that Castro dropped John Doe 2 as a defendant and

changed the perpetrator in the Fabrication Allegation to Chetsford (John Doe 1). If Castro has

any evidentiary support for his claim that Chetsford “fabricated” any document from Florida, he

has not identified it. E.g., Skidmore Energy, Inc. v. KPMG, 455 F.3d 564, 568 (5th Cir. 2006)

(affirming sanctions in excess of $500,000 against plaintiff where corporate owner could not

articulate any factual nexus between various sensational allegations like money laundering and

defendants).


1
 (...continued)
allegations involved here are clear and require no interpretation.
2
        Castro did not “specifically identify” the allegations in the TAC at issue on this motion as
requiring discovery for evidentiary support. Fed. R. Civ. P. 11(b)(3). Even if he had, such
specification does not authorize a litigant to make wholly unsupported assertions. Rule 11,
Advisory Committee Notes to the 1993 Amendments (specifically noting that the tolerance of
factual contentions identified as made on information and belief “is not a license to join parties,
make claims, or present defenses without any factual basis or justification.”).

                                                  3
    Case 4:23-cv-00613-P Document 56 Filed 02/29/24                   Page 5 of 7 PageID 286



           The Obscure Media Allegation is contradicted by a set of facts that Castro stipulated to in

Castro v. Scanlan, D.N.H. Case No. 1:23-cv-00416 less than a month before he filed the TAC.

There, he said that his

                  status as a longshot Republican Presidential candidate has been
                  covered by every major national media news outlet, including, but
                  not limited to, the Associated Press, Reuters, NBC, ABC, CBS,
                  CNN, Fox News, Politico, The Hill, The Washington Post, News
                  [sic], the New York Times, the New York Post, Forbes,
                  Bloomberg News, the Boston Globe, the New York Sun, and the
                  Washington Times, the Daily Caller, among others.

APP7-8, Rosman St. Ex. 1, ¶ 4 (Castro v. Scanlan, Doc. 53 (filed Oct. 18, 2023)). See also APP9

¶ 15 (“Plaintiff has managed to garner global news coverage with every major news network

. . .”).

           The absence of any evidentiary support for allegations – and in the case of the Obscure

Media Allegation, its inconsistency with other Castro statements – also suggest an improper

motive: Castro is hoping to get information on Donald Trump that will assist him in his

campaign. See Castro v. John Doe No. 1, et al., N.D. Cal. 3:23-cv-80198 (“ND Cal. Misc.

Action”), Doc. 38 at 2 (“Plaintiff wishes to secure Defendant Chetsford’s cooperation against the

Trump Defendants in the Texas case.”); id., Doc. 8-4 at 5 (“my goal is to get Chetsford to agree

to testify against the Trump campaign that I know paid him to do this.”). Thus, it seems

reasonable to conclude that Castro fabricated a set of allegations about how Trump and his

entities were behind a Wikipedia article about Castro on the outside chance that he could find

some dirt on Trump – or just harass him (or Chetsford).

           Rule 11(c)(1) calls for an “appropriate” sanction. See also Rule 11(c)(2) (sanctions may

include “[i]f warranted” an award of reasonable expenses, including attorney’s fees, to the party


                                                    4
   Case 4:23-cv-00613-P Document 56 Filed 02/29/24                   Page 6 of 7 PageID 287



prevailing on the motion); Rule 11(c)(4) (sanctions “must be limited to what suffices to deter

repetition of the conduct”). In this regard, this Court may take into account Castro’s rather

unusual litigation style, which has already caught the attention of several federal judges. See,

e.g., Castro v. Oliver, Slip op. dated Oct. 18, 2023, D.N.M. Case No. 1:23-cv-00766-MLG-GJF,

at 3 (“Having put this legal matter to rest, the Court concludes by noting that Castro’s filing

employs a tenor unfamiliar to this Judge and one that is out of step with practice in this district.

The Court cautions Castro and requests that any future filings comport with decorum and the

respect practitioners typically afford federal judges.”); Castro v. Warner, 2023 U.S. Dist. LEXIS

195186 at *6-*7 (S.D.W.V. Oct. 31, 2023) (Castro’s filings “contain numerous examples of

clearly inappropriate attacks . . . [D]erisive commentary is of little value to the Court in resolving

motions”); id. at *7 n.4 (listing examples and noting that “[t]his list is not exhaustive”).

       Moreover, Castro is quite litigious, to the point where the Magistrate Judge in this case

has recommended that he be declared a vexatious litigant. See Doc. 47 at 10-11. Plaintiff claims

that he learned a hard legal lesson about the limits of the Texas Long-Arm Statute from his

previous lawsuits, Doc. 49 at 5, but he reiterates very similar arguments to this Court. An award

should be made that makes clear that the federal courts are not places to test out his speculative,

wholly unfounded theories. Here, that would be the reasonable fees and costs of defending John

Doe 1 in this Court and the Northern District of California.


                                             Conclusion


       For the foregoing reasons, the motion for sanctions should be granted.


                                               Respectfully submitted,

                                                  5
Case 4:23-cv-00613-P Document 56 Filed 02/29/24     Page 7 of 7 PageID 288




                                /s/ Michael E. Rosman
                                Michael E. Rosman
                                (admitted pro hac vice)
                                Center for Individual Rights
                                1100 Connecticut Ave., Suite 625
                                Washington, D.C. 20036
                                telephone: (202) 833-8400
                                fax: (202) 833-8410
                                rosman@cir-usa.org

                                Anne Marie Mackin
                                Texas Bar No. 24078898
                                The Gober Group
                                14425 Falcon Head Blvd.
                                Building E-100, Suite 226
                                Austin TX 78738
                                Telephone: (512) 354-1785
                                Fax: (877) 437-5755
                                amackin@gobergroup.com

                                Attorneys for John Doe 1 (Chetsford)




                                   6
